                                                       United
Case 22-60020 Document 81 Filed in TXSB on 04/22/22 Page 1 of States
                                                              2      Courts Southern
                                                                  District of Texas
                                                                         FILED
                                                                  April 22, 2022
                                                           Nathan Ochsner, Clerk of Court
Case 22-60020 Document 81 Filed in TXSB on 04/22/22 Page 2 of 2




                                                                  Insert Company Name, LLC                                            t,;.U~:TH HOUSTON T)( 773
                                                                  PO Box 131420                                                       ?lt!l tHJ!O .·7'0.:t'? V>!\:~ 'J-. !
                                                                  Spring , TX 77393
                                                                              United States Courts
                                                                            Southern District of Texas    U.S . Ban kruptcy Court
                                                                           RECEIVED - Victoria Division
                                                                                                          Southern District of Texas
                                                                                APR 22 2022               Bankruptcy Judge Christopher M. Lopez
                                                                                                          312 S. Main St. , Room 406
                                                                              Nathan Ochsner
                                                                               Clerk of Court             Victoria, Texas 7790 I
                                                                                                          ..?79Ci i -8 i :::-~a:::5           up 11p 11 111,,11J ,111 j11l 1,11 i,II 11ipli, p,, '" Ij, I,ill 11111,11
